     Case 3:19-cv-02041-BAS-BLM Document 6 Filed 12/16/19 PageID.38 Page 1 of 3




 1    Collette Stark
      2175 Cowley Way
 2    San Diego, CA 92110
      (619) 347-0726
 3    videosolutions@me.com
 4
      Plaintiff in pro per
 5

 6

 7

 8
                  THE UNITED STATES FEDERAL DISTRICT COURT
 9
                         SOUTHERN DISTRICT OF CALIFORNIA
10
                                                     Civil Case No.19-cv-02041-BAS-BLM
11    Collette Stark, an individual
                                                     JOINT MOTION TO DISMISS
12                     Plaintiff,                    PURSUANT TO FRCP 41
13          vs.
14

15    Scope MCA, LLC,
      a Florida limited liability company.
16
                      Defendant.
17

18

19


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21
            May is please the Court, Plaintiff Collette Stark and Defendant Scope MCA,

22    LLC, hereby jointly move the Court to enter dismissal with prejudice pursuant to
23
      Federal Rule of Civil Procedure 41.
24
             The parties have reached a confidential, written settlement agreement. Each
25

      side to pay its own attorney fees and costs.
                             JOINT MOTION TO DISMISS PURSUANT TO RULE 41- I

                                                                                           19cv2041
     Case 3:19-cv-02041-BAS-BLM Document 6 Filed 12/16/19 PageID.39 Page 2 of 3




            Defendant has agreed to not call Plaintiff Stark on the phone numbers listed

 2    in the confidential settlement agreement. Defendant denies any wrongdoing.
 3
      Dated: December 16, 2019
 4


 5                                                       Colle~~

 6
                                                            ISi Collette Stark
 7                                                       Collette Stark, Plaintiff
                                                         Pro per
 8
                                                         videosolutions@me.com
 9


10


11
                                                          Scope MCA, LLC

12                                                         ISi Sam Kandhorov
                                                          Sam Kandhorov, CEO
13
                                                          Defendant Scope MCA, LLC
14                                                        sam@scopemca.com

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                         JOINT MOTION TO DISMISS PURSUANT TO RULE 41- 2

                                                                                           19cv2041
     Case 3:19-cv-02041-BAS-BLM Document 6 Filed 12/16/19 PageID.40 Page 3 of 3




                                     PROOF OF SERVICE
      I, Collette Stark, am over 18, a pro per plaintiff in this matter. I have filed this
 2    Joint Motion to Dismiss and had it served on Defendant as follows:
 3
      3: 19-cv-02041-BAS-BLM Notice has been mailed to:
 4

 5    Scope MCA, LLC, a Florida limited liability company. Agent
 6
      for Service;
      Abram Kandhorov, 16275 Collins Ave, Apt 1502,
 7    Sunny Isles Beach, FL 33160
 8
      and by US Mail, postage pre-paid, first class to:
 9
      Scope MCA, LLC, a Florida limited liability company. Agent
10
      for Service;
11    Abram Kandhorov, 16275 Collins Ave, Apt 1502,
      Sunny Isles Beach, FL 33160
12

13
      Scope MCA, LLC
      2 Bay Club Dr. Apt 20G
14    Bayside, NY 11360
15    As well as all other CM/ECF users registered in this matter.
16
      I swear under penalty of perjury that the above was served as state
11    Dated: December 16, 2019
18
                                                               ISi Cd/k~~~ $6?~.J
                                                                Collette Stark
19

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                            JOINT MOTION TO DISMISS PURSUANT TO RULE 41- 3


                                                                                             19cv2041
